Case 1:97-cr-00043-DHB-BKE Document 313 Filed 11/19/14 Page 1 of 1


                                                                                                                               - ^ IJLiP..,,o
                  IN rHE UNITEDsrArEs DISTRICTcoltRr roR Stft't''t !y.':fV""
                                          SOUTHERN DISTRICT OF GEORGIA
                                               AUGUSTA DIVISION                                                               I9
                                                                                                                        ?BI\NOV
UNITED STATES OF AMERICA
                                                                                                                    i]LTR
                                                                                                                                               OFGA.
                                                                                        cR l-97-043

JAMES NATHANIEL DIXON



                                                                      ORDER


          Defendant has filed                                a motion for                   reduction         of sentence under

18 U.S.C.          S 3582(c) (2) on the                                          basis        that     Amendment 782 to                            the

Uniced Stares                  Sentencing                        Guidefines                 has revised              the            guidelines
-*^r   l^^r^r^        +^       J-.,^        rr>f            :
oyyrtLaprs            Lv       u!u9         L ! o L ! ! rf^ t r rr -vl r i n n   nffancoc             F\zpn   iLhrnr rv.ui -Yl "h    A'nond,r6na


782 became effecrive                                on November 1,                            2A14, no defendanc may be

released          on         the           basls               of           the        retroactive            amendment before

November 1, 2415.                          See U.S.S.G. Amend. 788.                                     Thus, the Court wilf

rrrriertako       a      -erli ew of                  r-aseq              'r'rrol v'lrr       d-rro     r r'a{f i.:k'rn               n'f    e-ggg

1n due course,                      If     Defendant is                           entitled          to a sentence reduction

as    a       result           of         amendments to                            the        United       States                   Sentencing

Crridelines-               -hc           Co,rrt                                                       rcdrrr-ri o-              s?r.l snnn+-
                                                         will             make         such     a

Accordingly,               Defendant's                         motion              (doc. no.          312) is           DE

          ORDER ENTERED at                                   Augusta,                   Georgia,          this

Nl.\\/Arnhar      ) nl     L




                                                                                        UNITED STA            S DISTRICT .]U


          t     The Clerk                   is        directed                    to    terminate          the         motion               fol:
acimi^ i sf 'af       i\/e       nrrrnoSeS.
